Case 1:16-cv-07073-LAP Document 42 Filed 11/05/18 Page 1 of 1
Case 1:16-cv-07073-LAP Document 41 Filed 11/02/18 Page1of1

Michael Faillace & Associates, P.C.
Employment and Litigation Attorneys

60 East 42" St. Suite 4510 Telephone: (212) 317-1200
New York, New York 10165 Facsimile: (212) 317-1620

 

jandrophy@faillacelaw.com

November 2, 2018

BY ECF

Honorable Loretta A. Preska
United States District Judge
United States Courthouse
500 Pearl Street

New York, NY 10007

 

Re: Brens et al v. Morelia Mexican Rest. Inc. et al.,
16 cv 7073 (LAP)

Dear Judge Preska:

This office represents Plaintiffs in the above referenced matter. | write y with the consent
of Defendants to respectfully request that the Court extend the time to reopen the action to
November 15, 2018. The parties have resolved their disputes over the settlement agreement and
jointly request that the Court keep the case open for another two weeks so that the parties have
time to execute the agreement before the case is dismissed.

T thank the Court for its attention to this matter.

Respectfully Submitted,

AO CRD A aD
Add wttald. . /si Joshua S. Androphy

) ; Joshua 8. Androphy
cc. a s/ (%

MARTIN RESTITUYO (VIA ECF)

    

wal LED Daal

Certified as a minority-owned business in the Siaie of New York
